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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, CA 93721-2226
     Telephone: (559) 487-5561
 5
 6   Attorney for Defendant
     ARNOLDO DELGADO GARCIA
 7
 8                               IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )       No. 1:14-cr-00048 LJO-SKO-2
                                                    )
12                  Plaintiff,                      )
                                                    )       STIPULATION AND
13                                                  )       ORDER TO CONTINUE SENTENCING
            v.                                      )
14                                                  )
                                                    )
15   ARNOLDO DELGADO GARCIA,                        )       DATE:          October 19, 2015
                                                    )       TIME:          8:30 a.m.
16                  Defendant.                      )       JUDGE:         Hon. Lawrence J. O’Neill
                                                    )
17
18
19          IT IS HEREBY STIPULATED by and between the parties, through their respective
20   counsel, that the sentencing hearing scheduled for September 21, 2015, may be continued to
21   October 19, 2015 at 8:30 a.m., or the soonest date thereafter convenient to the Court.
22          Defense counsel just received the government’s sentencing recommendation. Mr. Garcia
23   is housed at Lerdo and not available to be transported to Fresno prior to sentencing. Defense
24   counsel requests a continuance to allow time to review the recommendation with Mr. Garcia and
25   file a sentencing memorandum that considers Garcia’s input. A four week continuance is
26   requested to accommodate the calendars of counsel.
27          The parties agree that the delay resulting from this request shall be excluded in the
28   interests of justice, for effective defense investigation and preparation, and for continuity of
     Case 1:14-cr-00048-LJO-SKO Document 86 Filed 09/17/15 Page 2 of 2


 1   counsel, pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and 3161(h)(7)(B)(i) and (iv).
 2
 3                                                              Respectfully submitted,
 4                                                              BENJAMIN B. WAGNER
                                                                United States Attorney
 5
 6   DATED: September 16, 2015                            By    /s/ Brian K. Delaney
                                                                BRIAN K. DELANEY
 7                                                              Assistant United States Attorney
                                                                Attorney for Plaintiff
 8
 9                                                              HEATHER E. WILLIAMS
                                                                Federal Defender
10
11   DATED: September 16, 2015                            By    /s/ Eric V. Kersten
                                                                ERIC V. KERSTEN
12                                                              Assistant Federal Defender
                                                                Attorney for Defendant
13                                                              ARNOLDO DELGADO GARCIA
14
15
16                                                 ORDER
17           IT IS SO ORDERED. The sentencing hearing scheduled for September 21, 2015 is
18   continued to October 19, 2015 at 8:30 a.m.
19
20   IT IS SO ORDERED.
21
         Dated:       September 17, 2015                   /s/ Lawrence J. O’Neill
22                                                    UNITED STATES DISTRICT JUDGE
23
24
25
26
27
28


      Garcia: Stipulation to Continue Sentencing    -2-
